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                                  United States District Court
                                   NORTHERN DISTRICT OF GEORGIA


  UNITED STATES OF AMERICA                                                     WARRANT FOR ARREST
  v.                                                                           AGENT TO ARREST

  Patricia Yannet Cornwall                                                     Case Number: 1:21-MJ-1215




TO:      The United States Marshal
         and any Authorized United States Officer


YOU ARE HEREBY COMMANDED to arrest Patricia Yannet Cornwall

and bring him or her forthwith to the nearest magistrate judge to answer a COMPLAINT charging him
or her with: on an aircraft in the special aircraft jurisdiction of the United States, assaulting by striking,
beating, or wounding R.S.M.


in violation of 18, United States Code, Section(s) 113(a)(4) and Title 49, United States Code, Section
46506(1).


 JUSTIN S. ANAND                                               United States Magistrate Judge
 Name of Issuing Officer                                       Title of Issuing Officer



                                                               December 24, 2021
                                                               Atlanta, Georgia
 Signature of Issuing Officer                                  Date and Location



Bail Fixed at $_________________________________            by________________________________________
                                                                     Name of Judicial Officer



                                                   RETURN

This warrant was received and executed with the arrest of the above-named defendant at:

_____________________________________________________________________________________________

Date Received:________________________________              ___________________________________________
                                                                     Name and Title of Arresting Officer


Date of Arrest:________________________________             ___________________________________________
                                                                     Signature of Arresting Officer
